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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
                                      www.flmb.uscourts.gov

CARL SANDERS,                                                             Case No. 8:20-bk-02731-RCT
     Debtor.1                                                             Chapter 7
                                                       /

                      MOTION FOR CONTEMPT AND SANCTIONS
                DUE TO WILLFUL VIOLATION OF THE AUTOMATIC STAY

         NOW COMES, Debtor by and through the undersigned counsel, pursuant to 11 U.S.C. §§

105(a) and 362, and files this Motion for Contempt and Sanctions Due to Willful Violation of the

Automatic Stay. In support of this Motion, Debtor states as follows:

         1.       Spinnaker Cove Townhomes Property Owners Association, Inc. (“Creditor”) is in

willful and continuous violation of 11 U.S.C. §§ 362(a)(1).

         2.       Creditor has willfully violated 11 U.S.C. § 362(a)(1) by filing a Motion for

Contempt against Debtor in Hillsborough County Case No. 19-CC-026490 (“State Court Case”),

an action involving Creditor, Debtor, and property of the bankruptcy estate.2

         3.       On March 30, 2020, Debtor filed a bankruptcy petition under Chapter 7 of the

United States Bankruptcy Code.

         4.       The filing of a bankruptcy petition operates as an automatic stay to the

“commencement or continuation… of a judicial, administrative, or other action proceeding

against the debtor.”3

         5.       Spinnaker Cove is represented in the State Court Case by attorneys at Rabin

Parker Gurley, P.A. (“RPG).



1
  All references to “Debtor” include and refer to both debtors in a case filed jointly by two individuals.
2
  See Exhibit “A.”
3
  11 U.S.C. §§ 362(a)(1).
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         6.       Creditor and Debtor are also involved in litigation in another case, Hillsborough

Case No. 18-CA-006414, in which a Suggestion of Bankruptcy was filed on March 30, 2020.4

         7.       On April 2, 2020, Monique Parker an attorney at RPG filed a notice of appearance

in this bankruptcy case on behalf of Creditor.5

         8.       To establish a violation of the automatic stay the Debtor must show that:

         (1) a bankruptcy petition was filed;
         (2) the creditor received notice of the petition;
         (3) the creditor’s actions were in willful violation of the automatic stay;
         (4) the debtor is an “individual; and
         (5) the debtor suffered damages as a result of the violations.6

         9.       The debtor filed the bankruptcy petition on March 30, 2020 and was assigned

Case No. 8:20-bk-02731.

         10.      As evidenced by the notice of appearance,7 there is no question that on or before

April 2, 2020, Creditor had actual knowledge that this bankruptcy case was pending.

         11.      Despite this knowledge, Creditor willfully filed the Motion for Contempt against

Debtor on April 13, 2020 in the State Court Case.8 9

         12.      As a natural person, Debtor is an “individual” under the bankruptcy code.10

         13.      Debtor has incurred actual damages in the form of attorney’s fees and costs due to

the need to defend and enforce the provision of the automatic stay.11 12




4
  See Exhibit “B.”
5
  Notice of Appearance as Counsel and Request for Copies (Doc. No. 4).
6
  Henkel v. Lickman (In re Lickman), 297 B.R. 162, 190 (Bankr. M.D. Fla. 2003) (Corcoran III, C.).
7
  Notice of Appearance as Counsel and Request for Copies (Doc. No. 4).
8
  See Exhibit “A.”
9
   See In re Xavier’s of Beville, Inc., 172 B.R. 667, 671 (Bankr. M.D. Fla. 1994) (Proctor, G.) (“A violation of the
automatic stay is willful if the action is done deliberately; no specific intent to violate a court order is necessary.”)
10
    See in re Georgia Scale Co., 134 B.R. 69, 72 (Bankr. S.D. Ga. 1991) (Dalis, J.) (Enforcement of the automatic
stay is available to natural persons.)
11
   11 U.S.C § 362(k).
12
    See Lickman, 297 B.R. at 196 (When attorney’s fees and costs would not have been necessary but for the
Defendant’s actions the damages are a proximate cause of the Defendant’s violations of the automatic stay.)


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           14.      The automatic stay applies to “all entities” that are not exempt from the

protections of 11. U.S.C. §362, and Debtor is entitled to compensation for the cost and expenses

incurred as a direct result of Creditor’s willful and knowing violation of the automatic stay.13

           15.      Creditor’s actions were egregious and intentional. To deter Creditor from

engaging in similar wrongful conduct in the future, the Court would be justified in imposing

additional punitive damages.14

           WHEREFORE, Debtor requests the entry of an order granting this Motion, imposing

actual and punitive damages, and for any further relief the Court deems just and proper.

                                         CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on or before May 5, 2020, a true and correct copy of
the foregoing was furnished via electronic or regular mail to the following parties:

Traci K. Stevenson                       United States Trustee – TPA7/13      Spinnaker Cove Townhomes
Standing Chapter 7 Trustee               Timberlake Annex, Ste. 1200          c/o Rabin Parker, P.A.
P.O. Box 86690                           501 E. Polk St.                      Attn: Monique Parker, Esq.
Madeira Beach, FL 33738                  Tampa, FL 33602-3949                 28059 U.S. Hwy. 19 N., Ste 301
                                                                              Clearwater, FL 33761

                                                                  /s/ Kenneth R. Case
                                                                  Kenneth R. Case, Esq.
                                                                  Florida Bar No. 0073758
                                                                  BROWN & ASSOCIATES LAW & TITLE, P.A.
                                                                  11373 Countryway Blvd.
                                                                  Tampa, FL 33626
                                                                  T: (813) 289-8485
                                                                  F: (813) 855-8485
                                                                  E: kenny@brownalt.com




13
     In re Tyson, 145 B.R. 91, 96 (Bankr. M.D. Fla. 1992) (Paskay, A.).
14
     In re Nibbelink, 403 B.R. 113, 122 (Bankr. M.D. Fla. 2009) (Funk, J.).


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                                         IN THE COUNTY COURT FOR THE
                                          THIRTEENTH JUDICIAL CIRCUIT
                                  IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

             SPINNAKER COVE TOWNHOMES
             PROPERTY OWNERS
             ASSOCIATION, INC.,
             Plaintiff,
             v.                                                                    Case No.: 19-CC-026490

             CARL SANDERS and
             JOHANNE C. HAKEY,
             Defendants.
             ______________________________________/

                                               MOTION FOR CONTEMPT
                    Plaintiff, SPINNAKER COVE TOWNHOMES PROPERTY OWNERS ASSOCIATION,
             INC., (the “Plaintiff”), by and through their undersigned counsel, hereby requests this Honorable
             Court enter an order of contempt against Defendants, CARL SANDERS and JOHANNE C.
             HAKEY (“Defendants”), and in support thereof states as follows:
                1. On February 13, 2020, the Court entered an Order Granting Plaintiff’s Motion for
             Summary Judgment, ordering Defendant to: “Obtain and provide written proof of insurance
             sufficient to satisfy Section 8.1(A) of the Association’s Declaration. Such proof shall be provided
             to the Association’s legal counsel within twenty (20) days of the date of this Order. . . “
                2. As of the date of this filing, Defendants have failed to comply with this provision of the
             Court’s Order.
                3. Plaintiff has incurred additional attorneys’ fees as a result of Defendant’s failure to comply
             with the Court’s Order.
                    WHEREFORE, Plaintiff requests this Court to enter an Order adjudging the Defendants,
             CARL SANDERS and JOHANNE C. HAKEY, to be in Contempt of Court, and requiring as
             follows:
                              1. The Defendants to immediately comply with the Court’s Order(s);
                              2. Reserve jurisdiction to enter a Writ of Bodily Attachment upon receipt of an
                                 affidavit confirming non-compliance with this Court’s prior Order(s);


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                                                     EXHIBIT A
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                           3. Award attorney’s fees and costs incurred by the Association in connection with
                               this action, to include additional fees and costs incurred as a result of the
                               Association’s efforts to secure the Defendants’ compliance with this Court’s
                               prior Order(s); and
                           4. Any other and additional sanctions, or such other relief, as the Court deems just
                               and proper.
                                             CERTIFICATE OF SERVICE
                    I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by First-
             Class U.S. Mail on this 13th day of April, 2020, to Defendant Johanne C. Hakey, 4337 Spinnaker
             Cove Lane Tampa, Florida 33607 and Defendant Carl Sanders, 4337 Spinnaker Cove Lane,
             Tampa, Florida 33607.

                                                     RABIN PARKER GURLEY, P.A.
                                                     28059 U.S. 19 North, Suite 301
                                                     Clearwater, Florida 33761
                                                     Telephone: (727)475-5535
                                                     Facsimile: (727)723-1131
                                                     For Electronic Service: Pleadings@RabinParker.com
                                                     Counsel for Plaintiff


                                                     By: /s/ John D. Kimbrough III
                                                         Adam C. Gurley, Florida Bar No.: 112519
                                                         John Kimbrough III, Florida Bar No.: 1018111




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                 IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                         IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

        SPINNAKER COVE TOWNHOMES
        PROPERTY OWNERS ASSOCIATION, INC.,
             Plaintiff,
        v.                                                                     Case No. 18-CA-006414
        CARL SANDERS, et al,
             Defendants.
                                                                      /

                                          SUGGESTION OF BANKRUPTCY
                COMES NOW Defendant1, CARL SANDERS, by and through the undersigned counsel2,
        and suggests as follows:
                1.       On March 30, 2020, Defendant filed a petition for relief under Title 11, United
        States Code, in the Bankruptcy Court for the Middle District of Florida, and was assigned case
        number 8:20-bk-02731.
                2.       Pursuant to 11 U.S.C. § 362(1), the filing of a petition may operate as a stay against
        the continuation of any judicial proceedings affecting the debtor or property of the estate.
                WHEREFORE, Defendant suggests that all activity and deadlines in this matter be ceased
        or cancelled until further order of the Bankruptcy Court.

                                              CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that, on or before March 30, 2020, a true and correct copy of the
        foregoing has been furnished via electronic mail to all parties on the Court’s E-Filing Portal
        Electronic Service List for this matter.
                                                             /s/ Kenneth R. Case
                                                             Kenneth R. Case, Esq.
                                                             FBN: 0073758
                                                             BROWN & ASSOCIATES LAW & TITLE, P.A.
                                                             11373 Countryway Blvd.
                                                             Tampa, FL 33626
                                                             T: (813) 528-4044
                                                             F: (813) 855-8485
                                                             E: courtdocuments@brownalt.com


        1
         All references to “Defendant” include and refer to all listed defendants, unless otherwise specified.
        2
         The filing of this suggestion is for informational purposes only and should not be construed in any way as a notice
        of general or special appearance on behalf of any party or parties in this matter.


                                                    EXHIBIT B
